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                                  ORDERED.
 Dated: April 14, 2021




                       UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
                              www.flmb.uscourts.gov

 In re                                                    )
                                                          )
 Orlando Cruz,                                            )    Case No. 6:16-bk-07815-KSJ
                                                          )    Chapter 7
                 Debtor.                                  )
                                                          )
                                                          )
 Jessica Doiron,                                          )
                                                          )
                                                          )
                                                          )
                 Plaintiff,                               )
                                                          )
 vs.                                                      )    Adversary No. 6:17-ap-00043-KSJ
                                                          )
 Orlando Cruz,                                            )
                                                          )
                 Defendant.                               )
                                                          )

                              ORDER DIRECTING RESPONSE

         On April 12, 2021, the parties filed a Joint Motion for Approval of Compromise

of Claims (the “Motion”) (Doc. No. 183). Because the compromise should have been




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noticed by negative notice under Federal Rule of Bankruptcy Procedure 9019, the

Court will direct both parties to file any objection to the Motion within 21 days.

Accordingly, it is

      ORDERED:

      1. Parties may object to the relief requested in the Motion by filing a response

          with the Clerk of Court at 400 West Washing Street, Suite 5100, Orlando,

          Florida 32801 by May 7, 2021.

      2. Objections, if any, will be heard at 10:15 a.m. on June 10, 2021.


                                              ###

Attorney Neil L. Henrichsen is directed to serve a copy of this order on interested non-
CM/ECF users and file a proof of service within three (3) days of entry of this order.




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